  Case 4:17-cv-00230-A Document 24 Filed 05/09/17             u.s. PageID
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                                                          NORTHERN           ::;:·oFTEXAS


                 IN THE UNITED STATES DISTRICT C URT
                      NORTHERN DISTRICT OF TEXAS                    MAY -9 20l7
                          FORT WORTH DIVISION

AMBULATORY SERVICES OF PUERTO        §
RICO, LLC,                           §                                   Deputy
                                     §
           Plaintiff,                §
                                     §
vs.                                  §   NO. 4:17-CV-230-A
                                     §
SANKAR NEPHROLOGY GROUP, LLC,        §
                                     §
           Defendant.                §


                           MEMORANDUM OPINION
                                   and
                                  ORDER

      Came on for consideration the motion of plaintiff,

Ambulatory Services of Puerto Rico, LLC, to stay arbitration.

Defendant, Sankar Nephrology Group, LLC, responded and moved to

compel arbitration. Having considered the motions, defendant's

response, the record, and applicable legal authorities, the court

concludes that plaintiff's motion to stay arbitration should be

denied and defendant's motion to compel arbitration should be

granted subject to resolution of the issue of arbitrability, that

this action should be stayed until the issue of arbitrability has

been resolved, and that if it is resolved in favor of arbitration

of the disputes between plaintiff and defendant, this action

should be dismissed without prejudice to the outcome of the

arbitration.
  Case 4:17-cv-00230-A Document 24 Filed 05/09/17                   Page 2 of 10 PageID 427


                                                I.

                                         Background

     Plaintiff and defendant formed SNG Naranjito, LLC

("Naranjito"), a Puerto Rico limited liability company, in 2014

for the purpose of operating a dialysis clinic in Puerto Rico. On

August 1, 2014, the parties executed a Limited Liability

Operating Agreement ("Operating Agreement") and a Membership

Contribution Agreement            ("MCA"), outlining the "terms and

conditions governing the structure, operation and management of

[Na.ranjito] ," Doc. 1 7 at 19, and providing for the contribution

of assets to Naranjito, id. at 5. The Operating Agreement

contains the following provision:

          Section 12.12 Dispute Resolution. Except for
     alleged breaches of Article X [Covenants and
     Representations] above, in the event that a dispute
     arises between two or more Members under this
     Agreement, the parties will first negotiate in good
     faith to try to resolve the dispute. The respective
     Members, or chief executive officers (or officers
     holding such authority) of such Members, shall meet in
     a timely manner and attempt in good faith to negotiate
     a settlement of such dispute during which time such
     persons shall disclose to the others all relevant
     information relating to such dispute. In the event that
     the parties are unable amicably to resolve the matter
     or matters in dispute, and except where the exigency of
     the matter reasonably requires injunctive relief to
     preserve the status quo, the Members shall submit all
     matters still in dispute to conclusive and binding
     arbitration in Fort Worth, Tarrant County, Texas,
     before a panel of three arbitrators in accordance with


     'The "Doc._" references are to the number of the item on the docket of this action.

                                                 2
   Case 4:17-cv-00230-A Document 24 Filed 05/09/17                 Page 3 of 10 PageID 428


       the Commercial Arbitration Rules of The American Health
       Lawyers Association. Except as otherwise agreed by all
       parties to the arbitration, one arbitrator shall be
       chosen by the party demanding arbitration, one by the
       party responding to the demand for arbitration, and the
       third shall be chosen by the first two named
       arbitrators, all from a list of candidates provided by
       The American Health Lawyers Association. The
       arbitrators may award to the prevailing party in their
       opinion its attorneys' fees and costs incurred in
       connection therewith. Venue for any action in court
       regarding arbitration, including without limitation the
       enforcement of its decision, shall be in Fort Worth,
       Texas.

Id. at 58.

       According to plaintiff, defendant, without plaintiff's

knowledge, bought into Naranjito by negotiating a secured loan

with Branch Banking & Trust Company ("BB&T"), in which defendant

borrowed against the contributed assets under the MCA and

arranged for Naranjito and plaintiff to become liable for the

repayment of the loan. Doc. 1 at 5,                    ~   23-24. In 2016, plaintiff

and defendant sold Naranjito's assets to Bio-Medical Applications

of Puerto Rico, Inc.             ("Bio-Medical") for $7,000,000.00 and

executed an agreement that allocated the sale proceeds according

to each member's ownership interest (the "Member Sale

Agreement" ) . 2

       After the Naranjito asset sale, defendant filed a Demand for

Arbitration with the American Health Lawyers Association.


        'The Member Sale Agreement is titled "Agreement to Sell Assets of SNG Naranjito, LLC to
Fresenius Medical Care." Bio-Medical is a member of Fresenius Medical Care.

                                                 3
  Case 4:17-cv-00230-A Document 24 Filed 05/09/17   Page 4 of 10 PageID 429


Defendant claimed that Carlos R. Rivera, the owner/president of

plaintiff, breached his fiduciary duty to Naranjito by retaining

Naranjito's income or gains for personal use in violation of the

Operating Agreement. Additionally, defendant requested

declaratory and injunctive relief to resolve issues surrounding

Naranjito's asset sale and the distribution of the sale proceeds.

     Plaintiff countered defendant's Demand for Arbitration by

filing a complaint and motion to stay arbitration in the above-

captioned action on March 16, 2016, asserting two claims for

breach of contract and seeking declaratory relief. Plaintiff

claimed that defendant "breached Section 2 of the MCA by

encumbering the Contributed Assets with liabilities and

obligations personal to [defendant] with no benefit to and to the

detriment of [plaintiff] . " Doc. 1 at 11, , 50. Plaintiff also

claimed that defendant breached the Member Sale Agreement by "(a)

hindering and preventing the payment of [plaintiff's] share of

the proceeds directly to it,      (b) causing Bio-Medical, instead, to

pay the proceeds to accounts at BB&T rendering the proceeds

inaccessible to [plaintiff], and (c)       failing to pay to

[plaintiff]      its 40% share of the $7 Million sale proceeds." Id.

at 12, ,   58.




                                     4
  Case 4:17-cv-00230-A Document 24 Filed 05/09/17   Page 5 of 10 PageID 430


                                   III.

                        Grounds of the Motions

     Plaintiff contended that the arbitration filed by defendant

should be stayed pending resolution of the above-captioned

action. In support, plaintiff argued that its claims, and by

e~tension   defendant's arbitration claims, are not subject to

arbitration because they arise out of the MCA and the Member Sale

Agreement, both of which do not contain arbitration provisions.

Such claims are also not subject to arbitration pursuant to the

Operating Agreement, plaintiff asserted, because the claims do

not arise under such agreement and do not fall within the narrow

scope of the Operating Agreement's arbitration provision.

Plaintiff argued that the court should determine the question of

arbitrability because the Operating Agreement's arbitration

provision does not limit the court's authority to decide

arbitrability or delegate such power to the arbitration panel.

Doc. 6 at 5.

     In its motion to compel arbitration, defendant principally

argued that the parties agreed to delegate arbitrability to an

arbitrator, and that the arbitrator, not the court, should

determine whether the parties' dispute fell within the scope of

the Operating Agreement's arbitration provision. Such arbitration

provision, defendant claimed, clearly and unmistakably showed


                                     5
     Case 4:17-cv-00230-A Document 24 Filed 05/09/17   Page 6 of 10 PageID 431


that the parties agreed to delegate arbitrability by expressly

stating that arbitration would take place in accordance with the

Commercial Arbitration Rules of The American Health Lawyers

Association. Regardless of the outcome of the arbitrability

issue, defendant argued that all claims pertinent to this action

are arbitrable because they are all "factually intertwined" and

thus fall within the scope of the Operating Agreement's

arbitration provision. Doc. 16 at 6-10.

                                       IV.

                                    Analysis

A.      Relevant Legal Principles Governing Arbitration

        The law presumes that courts have plenary authority to

determine questions of arbitrability. Hous. Ref., L.P. v. United

Steel, Paper and Forestry, Rubber, Mfg., 765 F.3d 396, 408                (5th

Cir. 2014). However, if the parties agree, they may delegate such

authority to an arbitrator. Rent-A-Center, W., Inc. v. Jackson,

561 u.s. 63, 68-69       (2010). The party asserting an agreement to

delegate the arbitrability issue to the arbitrator must

demonstrate "clearly and unmistakably" that the parties so

agreed. AT & T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S.

643, 649 (1986); Hous. Ref., L.P., 765 F.3d at 408              (citing

ConocoPhillips, Inc. v. Local 13-0555 United Steelworkers Int'l

Union, 741 F.3d 627, 630        (5th Cir. 2014)). Otherwise, the court


                                        6
     Case 4:17-cv-00230-A Document 24 Filed 05/09/17   Page 7 of 10 PageID 432


should decide the issue independently, First Options of Chi.,

Inc. v. Kaplan, 514 U.S. 938, 943           (1995), determining (1) whether

the parties agreed to arbitrate the dispute in question and (2)

whether any federal statute or policy renders the claims

nonarbitrable, Wash. Mut. Fin. Grp., LLC v. Bailey, 364 F.3d 260,

263    (5th cir. 2004).

        "[A]n arbitration agreement need not recite verbatim that

the 'parties agree to arbitrate arbitrability' in order to

manifest 'clear and unmistakable' agreement." Hous. Ref., L.P.,

765 F.3d at 410 n.28. Where, for example, the parties have agreed

to conduct arbitration according to arbitration rules that

delegate the determination of arbitrability to an arbitrator,

such agreement serves as clear and unmistakable evidence that the

parties agreed to delegate arbitrability. See,            ~.     Crawford

Prof'l Drugs, Inc. v. CVS Caremark Corp., 748 F.3d 249, 262-63

(5th Cir. 2014)      (agreeing to conduct arbitration according to the

American Arbitration Association Rules); Petrofac, Inc. v.

DynMcDermott Petroleum Operations Co., 687 F.3d 671, 674-75 (5th

Cir. 2012)     (same); see Cooper v. WestEnd Capital Mgmt., L.L.C.,

832 F.3d 534      (5th Cir. 2016)    (JAMS Rules).

B.      The Parties Clearly and Unmistakably Agreed to Delegate
        Arbitrability to an Arbitrator

        Section 12.12 of the Operating Agreement states that

arbitration will take place "in accordance with the Commercial

                                        7
   Case 4:17-cv-00230-A Document 24 Filed 05/09/17                     Page 8 of 10 PageID 433


Arbitration Rules of The American Health Lawyers Association."

Doc. 7 at 58. Section 5.2(a) of the Commercial Arbitration Rules'

states: "ARBITRABILITY. Once appointed, the arbitrator may issue

a preliminary award that addresses whether the arbitration clause

is valid, and whether it applies to the claims or counterclaims

raised by the parties."

        The parties' agreement to arbitrate disputes according to

the Commercial Arbitration Rules shows clearly and unmistakably

that they agreed to delegate arbitrability to arbitrators.

Plaintiff and defendant are the only members of Naranjito and the

only signatories to the Operating Agreement. The parties agreed

to submit all unresolved disputes arising "between two or more

Members under [the Operating] Agreement" to "conclusive and

binding arbitration . . . ," Doc. 7 at 58, and agreed to conduct

such arbitration according to the Commercial Arbitration Rules,

which provide that arbitrators may issue a preliminary award as

to arbitrability. Thus, defendant is entitled to have the claims

in dispute between the parties submitted to the arbitrators to

decide whether such claims fall within the scope of the Operating

Agreement's arbitration provision and then to resolve those

claims by arbitration if the decision is that they are.


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          The American Health Lawyers Association's arbitration rules are titled "Rules of Procedure for
Arbitration"; however, it appears undisputed that such rules are the "Commercial Arbitration Rules"
referred to in the Operating Agreement.

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   Case 4:17-cv-00230-A Document 24 Filed 05/09/17                 Page 9 of 10 PageID 434


       Section 5.2(a) of the Commercial Arbitration Rules permits,

but does not compel, the arbitrator to issue a preliminary award

as to arbitrability. The court notes that the record does not

contain any information that would indicate whether defendant has

requested the arbitrator to issue such a preliminary award. Thus,

defendant should be given an opportunity to submit the

arbitrability issue to the arbitrator for decision, and the

arbitrators should be given the opportunity to decide the issue

of arbitrability.'

       The Federal Arbitration Act provides that, where a court is

satisfied that the issues involved in a case are referable to

arbitration under an arbitration agreement, the court shall "stay

the trial of the action until such arbitration has been had in

accordance with the terms of the agreement                                  ." 9   u.s.c.     §   3.

For that reason, the court is ordering the above-captioned action

stayed until the arbitrator decides whether to issue a

preliminary award as to arbitrability.




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          The record shows that defendant filed its Second Amended Demand for Arbitration and
Statement of Claim with the American Health Lawyers Association requesting arbitration of specific
claims defined in the document and any other related claims identified through discovery. Doc. 17,
Appx. 0005-0008. However, the record does not show that defendant has requested or demanded that the
arbitrators decide the issue of arbitrability.

                                                 9
 Case 4:17-cv-00230-A Document 24 Filed 05/09/17   Page 10 of 10 PageID 435


                                    v.
                                  Order

     Therefore,

     The court ORDERS that plaintiff's motion to stay arbitration

be, and is hereby, denied.

     The court further ORDERS that defendant's motion to compel

arbitration be, and is hereby, granted subject to resolution of

the issue of arbitrability.

     The court further ORDERS that by 4:00p.m. on May 19, 2017,

defendant submit in accordance with the Commercial Arbitration

Rules the issue of arbitrability for resolution by the

arbitrators as promptly as possible.

     The court further ORDERS that defendant inform the court

promptly once the arbitrators have resolved the issue of

arbitrability, and that if it has not been resolved by 4:00p.m.

on June 8, 2017, defendant inform the court by that time and date

as to the progress of the resolution of the arbitrability issue.

     SIGNED May 9, 2017.                     ./.




                                                        rict Judge




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